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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS



MARSHALL THOMAS, III                             C.A. NO. 19-10645-PBS
      Plaintiff

v.

U.S. BANK N.A., SUCCESSOR
                                                 REVISED JOINT STATEMENT
TRUSTEE TO BANK OF AMERICA,
                                                 FOR SCHEDUILING
N.A., SUCCESSOR IN INTEREST TO
                                                 CONFERENCE
LASALLE BANK, N.A., AS TRUSTEE,
ON BEHALF OF WAMU MORTGAGE
PASS-THROUGH CERTIFICATES,
SERIES 2006-AR18, and SELECT
PORTFOLIO SERVICING, INC.
      Defendants




      In accordance with this Court’s Notice of Scheduling Conference entered on

May 3 and continued on May 29, 2019 [ECF Nos. 11, 14], and in advance of the

Scheduling Conference set for June 25, 2019 at 2:00 p.m., Plaintiff Marshall

Thomas, III (“Plaintiff” or “Thomas”) and Defendants U.S. Bank N.A, Successor

Trustee to Bank of America, N.A., Successor in Interest to Lasalle Bank, N.A., as

Trustee, on Behalf of WaMu Mortgage Pass-Through Certificates, Series 2006-AR18

(“U.S. Bank”), and Select Portfolio Servicing, Inc. (“SPS”) (collectively, the

“Defendants”), submit the following Joint Statement in accordance with Fed. R. Civ.

P. 16(b), Fed. R. Civ. P. 26(f) and Local Rule 16.1.




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I.     Certification of Conference
       Pursuant to Fed. R. Civ. P. 26(f) and Local Rule 16.1(b), counsel have

conferred regarding the preparation of a proposed discovery and pretrial schedule.

II.    Proposed Agenda for Scheduling Conference

       1. Discussion of Proposed Discovery Plan and Schedule for Filing Motions;

          and

       2. Such other matters as the Court may find appropriate and useful to

          discuss.

III.   Proposed Discovery Plan and Schedule for Filing Motions

       The Parties agree that unless otherwise specified by the requesting party, a

PDF or a TIF image is an acceptable file format for the production of documents,

except for such documents that are not reasonably usable in a form when converted

to a PDF or TIF file, such as Excel spreadsheet files, which always must be

produced natively. The Parties agree that production of documents as they are kept

in the ordinary course of business is an acceptable method of production.

       The parties agree that this case does not call for phased discovery.

       The following deadlines, unless otherwise ordered by the Court, shall control:

       1. Service of Initial Disclosures: July 9, 2019;

       2. Completion of Written Discovery and Depositions: November 29,

          2019;

       3. Expert Discovery: The Parties do not expect expert testimony at this

          time, but will report to the Court following the close of discovery if expert




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         disclosure will be necessary so that appropriate deadlines may be

         imposed; and

      4. Dispositive Motions: January 31, 2019 (oppositions or cross-motions to

         be filed within 30 days).

IV.   Certification Pursuant to Local Rule 16.1(d)(3)

      The certifications will be filed separately with the Court by the Parties in

advance of the scheduling conference.

V.    Trial by Magistrate

      The Parties do not consent to trial by Magistrate Judge.



Respectfully submitted,

Plaintiff,                                Defendants,
Marshall Thomas, III                      U.S. Bank N.A., as Trustee, and
By counsel,                               Select Portfolio Servicing, Inc.,
                                          By counsel,

/s/ Josef C. Culik                        /s/ Peter F. Carr II
Josef C. Culik (BBO #672665)              Peter F. Carr, II (BBO #600069)
Kristin L. Thurbide (BBO #694840)         ECKERT SEAMANS LLC
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(617) 830-1795                            pcarr@eckertseamans.com
(617) 830-1576 (Fax)
jculik@culiklaw.com
kthurbide@culiklaw.com

Dated: June 17, 2019




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                           CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic
Filing (NEF) and paper copies will be sent to those indicated as non-registered
participants on June 17, 2019.

                                        /s/ Josef C. Culik
                                        Josef C. Culik




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